
PER CURIAM.*
These consolidated applications arise from a judgment of the court of appeal which vacated the district court’s May 26, 2010 judgment granting a “Joint Motion for Preliminary Approval of Settlement and Certification of Settlement Class and to Amend the January 11, 2010 Order to Reset Deadlines.” Based on our review of the court of appeal’s judgment, we find no indication the court of appeal considered the district court’s subsequent May 28, 2010 “Order Preliminarily Approving Class Action Settlement and Certifying Class *1253Action for Settlement Purposes,” although relators represent a copy of the May 28, 2010 order was submitted to the court of appeal. Because the district court’s May 28, 2010 order provides detailed factual findings regarding the certification of a settlement class for purposes of La.Code Civ. P. art. 591(B), we find the court of appeal should have considered this order before it vacated the district court’s order granting preliminary approval to the settlement and certifying a settlement class.
Accordingly, without reaching the merits, we now grant the consolidated applications for the sole purpose of vacating the judgment of the court of appeal, and remanding the case to the court of appeal for reconsideration of its judgment after appropriate review of the district court’s May 28, 2010 order.

 Chief Justice Kimball not participating in this opinion.

